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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                           CASE NO.          PM510WM

   UNITED STATES OF AMERICA
   v.
   WILLIAM MICHAEL SPEARMAN,
                 'HIHQGDQW

   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

                                     CRIMINAL COVER SHEET

   1. Did this matter originate from a matter pending in the Central Region of the United States
      Attorney's Office prior to August 8, 2014 (Mag. Judge Shaniek Maynard)? No

   2. Did this matter originate from a matter pending in the Northern Region of the United States
      Attorney's Office prior to October 3, 2019 (Mag. Judge Jared Strauss)?      No


                                                       Respectfully submitted,
                                                       JUAN ANTONIO GONZALEZ
                                                       UNITED STATES ATTORNEY

                                               By:

                                                       Gregory Schiller
                                                       Assistant United States Attorney
                                                       FL Bar No.        0648477
                                                       500 South Australian Avenue, Suite 400
                                                       West Palm Beach, Florida 33401
                                                       Tel: 561-820-8711
                                                       Email: gregory.schiller@usdoj.gov
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AO 91 (Rev. 08/09) Criminal Complaint
                                                                                                                              KJZ
                                     UNITED STATES DISTRICT COURT
                                                                  for the                                      Nov 2, 2022
                                                      Southern District
                                                    __________ Districtof
                                                                        ofFlorida
                                                                          __________

                   United States of America                          )                                                             West Palm Beach
                              v.                                     )
                                                                     )      Case No. 22-mj-8510-WM
              WILLIAM MICHAEL SPEARMAN                               )
                                                                     )
                                                                     )
                           Defendant(s)


                                                       CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of March 2018 through November 2022 in the county of                               Palm Beach               in the
     Southern          District of        Florida and elsewhere , the defendant(s) violated:

         Code Section                                           Offense Description
18 U.S.C. § 2252A(g)                                 Engaging in a child exploitation enterprise
18 U.S.C. § 2251(d) and (e)                          Conspiracy to advertise child pornography




         This criminal complaint is based on these facts:
See attached Affidavit.




         ✔ Continued on the attached sheet.
         u



                                                                                               Complainant’s signature

                                                                                      FBI Special Agent David J. Backlund
                                                                                                                         Printed name and title

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Date:     November 2, 2022
                                                                                                   Judge’s signature

City and state:                  West Palm Beach, Florida                         U.S. Magistrate Judge William Matthewman
                                                                                                Printed name and title
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   AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT AND ARREST WARRANT

         I, David J. Backlund, a Special Agent with the Federal Bureau of Investigation (“FBI”)

  being duly sworn, depose and state as follows:

         1.      I have been employed as a Special Agent of the FBI since September 2008, and am

  currently assigned to the FBI’s Child Exploitation Operational Unit within the Criminal

  Investigative Division. As part of my duties as a Special Agent, I am assigned to investigate

  violations of federal law, including the online exploitation of children. This includes violations

  pertaining to the illegal trafficking, production, transmission, possession, and receipt of material

  depicting the sexual exploitation of minors.

         2.      I am submitting this affidavit in support of a criminal complaint and arrest warrant

  for WILLIAM MICHAEL SPEARMAN, year of birth: 1966, social security number: XXX-XX-

  5417. I submit there is probable cause to believe that beginning at least in or about 2018, and

  continuing through in or about November 2022, in the Southern District of Florida and elsewhere,

  SPEARMAN engaged in a child exploitation enterprise in violation 18 U.S.C. § 2252A(g) and

  conspired with others to advertise child pornography in violation of 18 U.S.C. § 2251(d) and (e).

  The term “child pornography,” as used in this affidavit, refers to the definition set forth in 18

  U.S.C. § 2256(8)(A).

         3.      Title 18 U.S.C. § 2252A(g) provides that a person engages in a child exploitation

  enterprise if a person violates Chapter 110 of the United States Code (among other portions of

  Title 18), as part of a series of felony violations constituting three or more separate incidents and

  involving more than one victim, and commits those offenses in concert with three or more other

  persons. As further set forth below, there is probable cause to believe that SPEARMAN violated

  various provisions of Chapter 110 of the United States Code in such a manner, including the



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  advertisement of child pornography and conspiracy to advertise child pornography in violation of

  18 U.S.C. § 2251(d) and (e), and the distribution of child pornography and conspiracy to distribute

  child pornography in violation of 18 U.S.C. § 2252A(a)(2) and (b)(1). Each of the aforementioned

  is a felony offense. Here, I submit there is probable cause to believe that SPEARMAN violated

  18 U.S.C. § 2252A(g) because, as described more fully below, on three or more occasions,

  SPEARMAN shared numerous URL links via a website with a group of 10 or more other

  individuals, which links, when accessed, redirected to web pages displaying child pornography

  files.

           4.    Title 18 U.S.C. § 2251(d) and (e) prohibit any person from conspiring to knowingly

  make, print, or publish, or cause to be made, printed or published, any notice or advertisement

  seeking or offering to receive, exchange, buy, produce, display, distribute, or reproduce, any visual

  depiction, if the production of such visual depiction involves the use of a minor engaging in

  sexually explicit conduct and such visual depiction is of such conduct, when such person knows

  or has reason to know that such notice or advertisement will be transported using any means or

  facility of interstate or foreign commerce or in or affecting interstate or foreign commerce by any

  means including by computer, or when such notice or advertisement was transported using any

  means or facility of interstate or foreign commerce or in or affecting interstate commerce by any

  means including computer. Here, I submit that there is probable cause that SPEARMAN violated

  18 U.S.C. § 2251(d) and (e) because, as described more fully below, he was a member and

  facilitator of a website that was dedicated to the advertisement, distribution, and exchange of child

  pornography, and on which, in accordance with the rules of the website, users advertised and

  distributed child pornography via notices and advertisements in the form of URL links and

  descriptive text.



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         5.      The statements contained in this affidavit are based in part on information provided

  by FBI Special Agents; written reports about this and other investigations that I have received,

  directly or indirectly, from other law enforcement agents; information gathered from the service

  of administrative subpoenas; the results of physical and electronic surveillance conducted by law

  enforcement agents; independent investigation and analysis by FBI agents and computer forensic

  professionals; and my experience, training and background as a Special Agent with the FBI. Since

  this affidavit is being submitted for the purpose of securing a Criminal Complaint and arrest

  warrant, I have not included each and every fact known to me concerning this investigation. I have

  set forth only the facts that I believe are necessary to establish probable cause to believe

  SPEARMAN has violated 18 U.S.C. §§ 2252A(g) and 2251(d) and (e).

         6.      The FBI is investigating a website (hereinafter referred to as the “TARGET

  WEBSITE”) that allows users to engage in online communications with other users. Users of the

  TARGET WEBSITE traffic in child pornography images and videos via the posting of web links

  within messages. These links allow a user to navigate to another website, such as a file-hosting

  website, where images and/or videos were stored in order to download these images and videos.

  When posting the links, users of the TARGET WEBSITE also generally include descriptive text

  that provides information about the sexual acts and age and gender of the child victim depicted in

  the linked-to child pornography files. The TARGET WEBSITE provides rules that instruct users

  to share child pornography in this manner. The TARGET WEBSITE consists of at least 100

  registered members. Registered members of the TARGET WEBSITE, and any user with a higher

  status than registered member, all have their usernames reserved for their exclusive use and must

  access their account through a password chosen by the user. Usernames that are taken by

  registered members or users of higher status cannot be used by any other website user. Until



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  approximately June 2022, a high-ranking administrator of the TARGET WEBSITE resided in

  Palm Beach County, Florida, within the Southern District of Florida, and advertised child

  pornography and took acts to help manage the website from his home.

         7.      FBI investigation has further revealed that another particular user of the TARGET

  WEBSITE, acting under a particular online alias and referred to here as the “SUBJECT USER,”

  acted as a high-ranking administrator of the website. According to communications made over

  the TARGET WEBSITE, the SUBJECT USER has recommended other users for promotion,

  welcomed users to the website, provided guidance to users, and recruited other users to serve in

  positions on the TARGET WEBSITE such as room moderators. The SUBJECT USER has been

  at least a registered member, or a user of greater status, since this time.

         8.      The FBI’s investigation further revealed that the SUBJECT USER has, on more

  than three occasions, shared thousands of URL links to child pornography via the TARGET

  WEBSITE that were accessible to more than 10 other TARGET WEBSITE users. Below are

  examples of some of the links shared by the SUBJECT USER. Each of these three examples is

  from a separate message sent by the SUBJECT USER on separate occasions between July and

  August 2022:

         a.      The SUBJECT USER shared a collection of links, including one link with

                 descriptive text suggesting indicating that the linked-to child pornography files

                 depicted a young girl being sexually abused by an older woman. That link in fact

                 redirected to another website that contained an image depicting an adult female

                 holding a female toddler, estimated to be between one to two years of age, upside

                 down by her feet. The toddler’s legs are spread and the adult female has her tongue

                 touching the toddler’s vagina, which is exposed for the camera.



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         b.      On another occasion, the SUBJECT USER shared a collection of links, including

                 one link with descriptive text suggesting indicating that the linked-to child

                 pornography files depicted one or more girls performing oral sex. That link in fact

                 redirected to another website that contained an album containing 21 images of

                 females performing oral sex on erect penises. All of these images appear to depict

                 minor girls, including girls who are visibly prepubescent, some estimated to be

                 under the age of five.

         c.      On yet another occasion, the SUBJECT USER shared a collection of links,

                 including one link with descriptive text suggesting indicating that the linked-to

                 child pornography files depicted a preteen girl displaying her genitals and

                 performing oral sex. That link in fact redirected to another website that contained

                 79 images of a known female victim who was estimated to be between the ages of

                 seven and nine at the time of the abuse. The girl exposes her anus and vagina for

                 the camera in many of the images. There are also multiple images where the girl is

                 performing oral sex on her adult abuser’s erect penis.

         IDENTIFICATION OF WILLIAM SPEARMAN AS THE SUBJECT USER

         9.      On or about November 2, 2022, the FBI executed a search warrant authorized by

  the U.S. District Court for the Northern District of Alabama at SPEARMAN’s residence in

  Madison, Alabama. During the execution of the search warrant, after being advised of his rights,

  SPEARMAN admitted to FBI agents that he was the SUBJECT USER on the TARGET

  WEBSITE. He stated that he had been on the TARGET WEBSITE since approximately 2018,

  had shared child pornography over the site, and had taken steps to manage the site. He also stated

  that he maintained child pornography on devices in his residence.



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         10.      During the execution of the search warrant at SPEARMAN’s residence, FBI agents

  also discovered evidence of SPEARMAN’s involvement with the TARGET WEBSITE. For

  example, FBI agents encountered SPEARMAN in his garage near a desk with a laptop on it. The

  screen of the laptop was frozen but had evidence on it of him accessing the TARGET WEBSITE

  and another website related to the TARGET WEBSITE that is also dedicated to child sexual

  exploitation. In addition, agents found a thumb drive in a box in the garage where they encountered

  SPEARMAN.         A forensic preview of that thumb drive revealed a large volume of child

  pornography, including the following files:

               a. A photo of a prepubescent girl who appears to be approximately five to seven years

                  old based on her young facial and bodily features and lack of pubic hair or breast

                  development. The photo depicts an adult male inserting his penis into the girl’s

                  vagina and the girl inserting a phallic sex toy into her mouth.

               b. A photo of a prepubescent girl who appears to be approximately eight to nine years

                  old based on her young facial and bodily features and lack of pubic hair or breast

                  development. The girl is depicted nude with her vagina and anus exposed and a

                  sex toy inserted in her anus. An adult male is depicted standing over the girl and

                  appears to be masturbating close to the girl’s face.

               c. A photo of a prepubescent girl who appears to be approximately six to seven years

                  old based on her young facial and bodily features and lack of pubic hair or breast

                  development. The photo depicts the girl exposing her naked vagina and anus and

                  she appears to be rubbing a phallic sex toy against her vagina.




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                                           CONCLUSION

         11.     For these reasons, your Affiant respectfully submits that there is probable cause to

  believe that SPEARMAN violated 18 U.S.C. § 2252A(g) within the Southern District of Florida

  and elsewhere by violating Chapter 110—including 18 U.S.C. §§ 2251(d) and (e) and 2252A(a)(2)

  and (b )(1 )—as part of a series of felony violations involving three or more separate incidents and

  more than one victim, and committed those offenses with three or more other persons. Your Affiant

  further respectfully submits that there is probable cause to believe that SPEARMAN violated 18

  U.S.C. § 2251(d) and (e) within the Southern District of Florida and elsewhere by conspiring with

  others to advertise child pornography. I therefore respectfully request that the Court authorize a

  criminal complaint for SPEARMAN.



                                                       Respectfully submitted,



                                                       David J. Backlund
                                                       Special Agent
                                                       Federal Bureau of Investigation


  Subscribed and sworn to me by applicant by
  telephone (Facetime) per the requirements of
  Fed. R. Crim. P. 4(d) and 4.1 on this 2nd day
  of November, 2022.



  _____________________________________
  HON. WILLIAM MATTHEWMAN
  UNITED STATES MAGISTRATE JUDGE




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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                          PENALTY SHEET

  Defendant's Name: WILLIAM MICHAEL SPEARMAN

  Case No:        PM510-WM

  Count #1:

  Engaging in a child exploitation enterprise

   U.S.C. § 2A(g)
  * Max. Term of Imprisonment: Life
  * Mandatory Min. Term of Imprisonment (if applicable): 20\HDUV
  * Max. Supervised Release: Life (mandatory minimum term of years)
  * Max. Fine: $ILnHDQGDVSHFLDODVVHVVPHQW

   Count #2:

   Conspiracy to advertise child pornography

   18 U.S.C. § 2251(d) and (e)
   *      Max. Term of Imprisonment: 30 years
   *      Mandatory Min. Term of Imprisonment (if applicable): 15 years
   *      Max. Supervised Release: Life (mandatory minimum term of 5 years)
   *      Max. Fine: $250,000 fine and a $5,000 special assessment




    *Refers only to possible term of incarceration, supervised release and fines. It does not include
          restitution, special assessments, parole terms, or forfeitures that may be applicable.
